          Case 1:17-cv-12210-DJC Document 17 Filed 08/03/18 Page 1 of 2

                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
______________________________________
                                           :
Jennifer Tanner,                           :
                                           : Civil Action No.: 1:17-cv-12210-DJC
                                           :
                      Plaintiff,           :
        v.                                 :
                                           :                                                       (
Credit Collection Services; and DOES 1-10, :
inclusive,                                 :                                                       (
                                           :                                                       D
                      Defendant.           :                                                       R
______________________________________ :                                                           H
                               STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety with prejudice and without costs to any party.

 Jennifer Tanner                               Credit Collection Services

 ___/s/ Sergei Lemberg__________               _/s/ Charity A. Olson_____

 Sergei Lemberg, Esq.                          Charity A. Olson, Esq.
 BBO No.: 650671                               Olson Law Group
 LEMBERG LAW, LLC                              2723 S. State St., Suite 150
 43 Danbury Road, 3rd Floor                    Ann Arbor, MI 48104
 Wilton, CT 06897                              (734) 222-5179
 (203) 653-2250                                Attorney for Defendant
 Attorney for Plaintiff

_____________________________
SO ORDERED
         Case 1:17-cv-12210-DJC Document 17 Filed 08/03/18 Page 2 of 2


                                CERTIFICATE OF SERVICE

        I hereby certify that on August 3, 2018, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                     Sergei Lemberg




                                                2
